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                                   In the United States Court
                               For the Northern District of Illinois

   Talon Wall Holdings, LLC,        )
   Entekk Group Ltd., and           )
   Chicago Heights Glass, Inc.      )
                          Plaintiff )
                                    )
   v.                               )               Case No.
                                    )
   Reflection Window & Wall, LLC,   )               JURY TRIAL DEMANDED
   Joel J. Phelps,                  )
   Pepper Construction Co.,         )
   Provident Group UIC Surgery      )
   Center, LLC,                     )
   LendLease (US) Holdings, LLC,    )
   1400 Land Holdings, LLC, and     )
   John Does 1-50.                  )
                         Defendants )


                                        COMPLAINT

   Plaintiffs, Talon Wall Holdings, LLC, Entekk Group Ltd., and Chicago

Heights Glass, Inc. (collectively “Plaintiffs”), through counsel, for their complaint

against Reflection Window & Wall, LLC, Joel Phelps, Pepper Construction Co.,

Provident Group UIC Surgery Center, LLC, LendLease (US) Construction Inc.,

1400 Land Holdings, LLC and John Does 1-50 (collectively “Defendants”), hereby

state and allege as follows:

                                       THE PARTIES

    1.       Talon Wall Holdings, LLC (“Talon Wall”) is a limited liability

company organized and existing under the laws of the State of Delaware and has

a principal place of business at 16500 Vincennes Rd., S. Holland, Illinois 60473.
    2.       Entekk Group Ltd. (“Entekk”) is a corporation organized and

existing under the laws of the State of Illinois and has a principal place of

business at 16500 Vincennes Rd., S. Holland, Illinois 60473.
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    3.       Chicago Heights Glass, Inc. (“CHG”) is a corporation organized and
existing under the laws of the State of Illinois and has a principal place of

business at 16500 Vincennes Rd., S. Holland, Illinois 60473.

    4.       Reflection Window & Wall, LLC (“RWW”) is a limited liability
company organized and existing under the laws of the State of Illinois and has a

principal place of business at 2525 N. Elston Ave., Suite D240, Chicago, IL 60647.

    5.       Joel J. Phelps (“Phelps”), upon information and belief, is an
individual residing in Indiana and is an executive officer of and Director of

Curtain Wall for RWW located at 2525 N. Elston Ave., Suite D240, Chicago, IL

60647.
    6.       Pepper Construction Co. (“Pepper”) is a corporation organized and

existing under the laws of the State of Delaware and has a principal place of

business at 643 North Orleans Street, Chicago, IL 60654-3608.

    7.       Upon information and belief, Provident Group UIC Surgery Center,

LLC (“Provident”) is an Illinois LLC that is the lessor of the property located at

1009 S. Wood St., Chicago, IL 60612.
    8.       Lendlease (US) Construction Inc. (“LendLease) is a corporation

organized and existing under the laws of the State of Florida and has principal

places of business at 515 N Clark St, Chicago, IL 60654, 30 S Wacker Dr Ste 2400
Chicago, IL, 5800 S Stony Island Ave, Chicago, IL 60637.

    9.       1400 Land Holdings, LLC (“1400 LH”) is an LLC organized under

the laws of the State of Delaware and has a principal place of business at 225 W.
Ohio St., 6th FL, Chicago, IL 60654.




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     10.      John Does 1-50 are entities with whom, upon information and belief,
RWW has agreed to supply infringing products or that are practicing the

infringing methods. When the identities of John Does 1-50 are identified,

Plaintiffs intend to file an amended complaint naming those entities.
                                    JURISDICTION

       11.     This is a claim of patent infringement arising under the Acts of

Congress relating to patents, namely, 35 U.S.C. § § 271, 281-285.

       12.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§

1331, and 1338(a).

       13.    This Court has personal jurisdiction over RWW because it is

incorporated in the State of Illinois and resides within and has its headquarters in

this judicial district.

       14.    This Court has personal jurisdiction over Phelps because of his
systematic contacts with and purposeful availment of this forum. Specifically,

and without limitation, Phelps is employed in the State of Illinois and has

committed infringing acts within this judicial district.
       15.    This Court has personal jurisdiction over Pepper Construction Co.,

       because it is resides within and its headquarters in this judicial district, and

because it has committed acts of infringement in this judicial district.

       16.    This Court has personal jurisdiction over Lendlease (US)

Construction Inc., because it has an office in this judicial district, and because it

has committed acts of infringement in this judicial district.




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       17.    This Court has personal jurisdiction over Provident because upon
information and belief it has an office in this judicial district, and because it has

committed acts of infringement in this judicial district.

       18.    This Court has personal jurisdiction over 1400 Land Holdings, LLC,
because it has an office in this judicial district, and because it has committed acts

of infringement in this judicial district.

       19.    Venue is proper in this judicial district pursuant to 28 U.S.C. § § 1391
and 1400(b) because Defendants reside within, have a physical place of business

within, or undertook a substantial part of the events giving rise to this action in

this judicial district.



                                  FACTUAL BACKGROUND

       20.    Talon Wall is in the business of manufacturing and installing

façades and related components for high-rise buildings, either directly or

through others under the Talon Wall® mark (the “Talon Wall System”).

       21.     The Talon Wall System is an industry-altering, engineered, unitized

and factory glazed, curtain wall system. It accommodates complex geometry in

all 3 axes, and is far less complex to fabricate and install than all other

competitive systems, and requires less training and skill level than competing

systems. It greatly reduces the labor, material and installation charges for curtain

wall systems on high-rise buildings.

       22.     The Talon Wall System meets or exceeds project specifications with
class leading thermal, structural, air, fire, acoustic and water performance. It

does not require field applied acoustical, firesafing insulation, mullion wraps or


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fire sealant at floor slab interfaces. It does not require layout or pre-setting of unit
anchors at mounting locations to floor slabs.

      23.    The Talon Wall System provides low profile framing members in all

conditions which leads to much higher daylight to occupants. It allows
immediate completion of interior finishes at the floor below the active

installation processes, and eliminates the need for temporary roofs, and water

and mold damage to finishes below.
      24.    The Talon Wall System’s robust designs accommodate wide

modules and unsupported double spans with no additional internal steel

reinforcing or kicker supports at mid-spans. It supports LEED goals by using an
environmentally friendly, proprietary, reusable metal racking system for

delivery to the construction site. This allows the complete unload, distribution,

and specific placement of units to floors on a high rise building by two crew

members in two hours or less.

      25.    The Talon Wall System also eliminates dumpster and cleanup

charges for wood crates and packing material, as the racks may be returned for
re-use.

      26.    The Talon Wall System also includes an option for a proprietary

high performance ‘zero sightline’ concealed ADA/ANSI compliant operable
window system for natural ventilation requirements. No floor slab notch-outs or

grout fill are required for anchors. The Talon Wall System improves thermal

performance by allowing designs that increase typical module sizes while
reducing facade.




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      27.    In addition, the Talon Wall System is significantly less complicated
and less expensive to install.

      28.    As a result of the foregoing, Plaintiffs have a significant competitive

advantage over their industry peers as the Talon Wall System has become the
preferred standard for many high-rise construction projects, including these:




      29.    Talon Wall has protected its valuable intellectual property through

U.S. Patent Nos. 9,752,319; 10,094,111; 10,202,764; 10,233,638; and 10,724,234.

      30.    Talon Wall is the owner by assignment of U.S. Patent No. 9,752,319

(the “‘319 Patent”) and has rights to enforce and collect damages and remedies

for infringement of the ‘319 Patent. The ‘319 Patent was duly issued by the U.S.

Patent and Trademark Office on September 5, 2017 to inventor LeVan and is in

full force and effect.

      31.    Talon Wall is the owner by assignment of U.S. Patent No. 10,094,111

(the “‘111 Patent”) and has rights to enforce and collect damages and remedies

for infringement of the ‘111 Patent. The ‘111 Patent was duly issued by the U.S.
Patent and Trademark Office on October 9, 2018 to inventor LeVan and is in full

force and effect.


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      32.    Talon Wall is the owner by assignment of U.S. Patent No. 10,202,764
(the “‘764 Patent”) and has rights to enforce and collect damages and remedies

for infringement of the ‘764 Patent. The ‘764 Patent was duly issued by the U.S.

Patent and Trademark Office on February 12, 2019 to inventor LeVan and is in
full force and effect.

      33.    Talon Wall is the owner by assignment of U.S. Patent No. 10,233,638

(the “‘638 Patent”) and has rights to enforce and collect damages and remedies
for infringement of the ‘638 Patent. The ‘638 Patent was duly issued by the U.S.

Patent and Trademark Office on March 19, 2019 to inventor LeVan and assignee

Talon Wall and is in full force and effect.
      34.    Talon Wall is the owner by assignment of U.S. Patent No. 10,724,234

(the “‘234 Patent”), and has rights to enforce and collect damages and remedies

for infringement of the ‘234 Patent. The ‘234 Patent was duly issued by the U.S.

Patent and Trademark Office on July 28, 2020 to inventor LeVan and assignee

Talon Wall and is in full force and effect.

      35.    The Defendants have infringed at least the ‘319, ‘764 and the ‘638
Patents (collectively, the “Patents in Suit”).

      36.     Entekk and CHG are exclusive licensees of the Patents in Suit.

      37.    Phelps was the VP of Business Development for CHG, and had
substantial knowledge regarding the technical details, advantages and market

opportunities for the Talon Wall System.

      38.    In June of 2020, Phelps, the VP of Business Development for CHG
abruptly provided notice to CHG that he was terminating his employment, and

made clear that intended to work for a competitor of Talon Wall.


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      39.    Armed with the confidential information of Talon Wall, Phelps was
promptly hired by RWW, a direct competitor of Talon Wall.

      40.    Phelps was obligated to return certain materials CHG by virtue of a

Separation Agreement but failed to do so
      41.    Upon information and belief, Phelps’ unique knowledge of the

Talon Wall’s most confidential information – in particular, the effectiveness of

the Talon Wall and certain non-public Trade Secret improvements to the Talon
Wall System – was one of the primary reasons that Phelps was hired by RWW.

      42.    As a tacit admission that the Talon Wall System was exceptional

within the industry, Phelps contacted LeVan about a month after abruptly
quitting, and tried to secure a license for RWW to use the Talon Wall technology.

Talon Wall denied this request.

      43.    At all relevant times, RWW and Phelps, Provident, Pepper,

LendLease and 1400 LH were aware (1) that the Talon Wall System was subject

to patents owned by Talon Wall; (2) that Talon Wall had the right to make,

install, use and sell the Talon Wall, and (3) that neither RWW nor Phelps were
permitted to practice or were licensed the Patents in Suit.

      44.    Talon Wall informed multiple defendants of the existence of the

Patents in Suit.
      45.    With full awareness that the Talon Wall System was a patented and

superior product to anything being offered by RWW, Phelps both individually

and in his capacity as an executive officer of RWW, along with RWW, created
knock off systems called the U8000 or UWALL (collectively, the “RWW System”)




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which infringe the Patents in Suit and which was known to infringe the Patents
in Suit.

       46.   RWW advertises the RWW System on its webpage

https://reflectionwindow.com/product-type/curtain-wall/ as follows:




       47.   This webpage implicitly acknowledges that the RWW System is

based on the Talon Wall System in stating that the UWall has “exceptional

invention and parentage.”

       48.   The webpage also admits that the UWall was used for the “UIH

Medical Center, and the 1400 South Wabash Tower.”

       49.   Pepper is a general contractor of high-rise buildings that has used

both Plaintiffs and RWW as subcontractors for various projects.

       50.   Pepper was the general contractor for the UIH Medical Center at
1009 S. Wood St., Chicago, IL 60612 (the “Pasquinelli Center,”) and RWW was

the façade subcontractor.



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      51.    At the behest of Phelps and pursuant to an agreement between
Pepper and RWW, the RWW System was made, used and sold by them and

Provident at the Pasquinelli Center, as evidenced by the following diagram and

photos:




      52.    LendLease is a general contractor of high-rise buildings that has

used both Talon Wall and/or its affiliated companies and RWW as subcontractors

for various projects.




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      53.    LendLease is the general contractor for the 1400 South Wabash
Tower in Chicago, IL 60612 (the “Wabash Tower”) and RWW is the façade

subcontractor.

      54.    At the behest of Phelps and pursuant to an agreement between
LendLease and RWW, the RWW System is being made, used and sold by them

and 1400 LH as confirmed by the webpage at

https://reflectionwindow.com/product-type/curtain-wall/.
      55.    Upon information and belief, the RWW System has been offered for

use and/or formally accepted for other projects including projects at 95

Hawthorne, San Francisco, CA, 605 Davis, Evanston, IL 1200 W. Carroll, Chicago,
IL, Lincoln Yards, Chicago, IL, and 1000 Michigan, Chicago, IL.

      56.    The making, using and selling of the RWW System infringes one or

more claims of the, ‘319, ‘764, and ‘638 Patents.

      57.    Upon information and belief, the unauthorized use of Plaintiffs’

patents has been intentional and willful, in part as shown by Phelps’ knowledge

of the Talon Wall System while employed by Entekk and his creation of the
knock-off RWW System on behalf of the RWW, and because Talon Wall

informed LendLease and 1400 LH of the Patents in Suit.

      58.    Plaintiffs have complied with the notice provision of the Patent Act,
35 U.S.C. § 287, including by listing the Patents in Suit on the Entekk website and

on Talon Wall Systems when manufactured and delivered.



                                         COUNT I

                  PATENT INFRINGEMENT – U.S. PATENT NO. 9,752,319


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      59.    The preceding allegations are incorporated herein by reference.
      60.    RWW, Phelps, Pepper and John Does 1-50 have created, made, used,

benefitted from the use of, sold, and offered for sale in the United States the

RWW System that infringes at least one claim of the ‘319 Patent, and/or have
induced infringement of the ‘319 Patent by Pepper, LendLease, 1400 LH and

Provident though buildings they have constructed that use the RWW System.

      61.    RWW, Phelps, LendLease and 1400 LH were each informed that the
RWW System and its use infringe the ‘319 Patent yet each did nothing to abate

further infringement.

      62.    RWW, Phelps, Pepper and LendLease have contributed to the
infringement of the ‘319 Patent by providing products and services that have no

non-infringing use or purpose, and thereby causing Pepper, Provident,

LendLease, and 1400 LH to directly infringe.

      63.    Plaintiffs have been damaged, and will continue to be damaged, by

Defendants’ infringement of the ‘319 Patent.

      64.    Plaintiffs have suffered, and will continue to suffer, irreparable
harm, unless the Defendants are enjoined from infringing the ‘319 Patent.

                                        COUNT II

                    PATENT INFRINGEMENT – U.S. PATENT 10,202,764

      65.    The preceding allegations are incorporated herein by reference.

      66.    RWW, Phelps, Pepper and John Does 1-50 have created, made, used,

benefitted from the use of, sold, and offered for sale in the United States the
RWW System that infringes at least one claim of the ‘764 Patent, and/or have




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induced infringement of the ‘764 Patent by Pepper, LendLease, 1400 LH and
Provident though buildings they have constructed that use the RWW System.

      67.    RWW, Phelps, LendLease and 1400 LH were each informed that the

RWW System and its use infringe the ‘764 Patent yet each did nothing to abate
further infringement.

      68.    RWW, Phelps, Pepper and LendLease have contributed to the

infringement of the ‘764 Patent by providing products and services that have no
non-infringing use or purpose, and thereby causing Pepper, Provident,

LendLease, and 1400 LH to directly infringe.

      69.    Plaintiffs have been damaged, and will continue to be damaged, by
Defendants’ infringement of the ‘764 Patent.

      70.    Plaintiffs have suffered, and will continue to suffer, irreparable

harm, unless the Defendants are enjoined from infringing the ‘764 Patent.



                                        COUNT IV

                    PATENT INFRINGEMENT – U.S. PATENT 10,233,638

      71.    The preceding allegations are incorporated herein by reference.

      72.    RWW, Phelps, Pepper and John Does 1-50 have created, made, used,

benefitted from the use of, sold, and offered for sale in the United States the
RWW System that infringes at least one claim of the ‘638 Patent, and/or have

induced infringement of the ‘638 Patent by Pepper, LendLease, 1400 LH and

Provident through buildings they have constructed that use the RWW System.




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      73.   RWW, Phelps, LendLease and 1400 LH were each informed that the
RWW System and its use infringe the ‘638 Patent yet each did nothing to abate

further infringement.

      74.   RWW, Phelps, Pepper and LendLease have contributed to the
infringement of the ‘638 Patent by providing products and services that have no

non-infringing use or purpose, and thereby causing Pepper, Provident,

LendLease, and 1400 LH to directly infringe.
      75.   Plaintiffs have been damaged, and will continue to be damaged, by

Defendants’ infringement of the ‘638 Patent.

      76.   Plaintiffs have suffered, and will continue to suffer, irreparable
harm, unless the Defendants are enjoined from infringing the ‘638 Patent.

                                PRAYER FOR RELIEF

      Wherefore, Plaintiffs prays for the following relief:

    A.      A judgment that Defendants have directly infringed U.S. Patent Nos.

    9,752,319, 10,202,764 and 10,233,638;

    B.      A preliminary and permanent injunction enjoining and restraining
    Defendants, their officers, directors, agents, employees, attorneys and all

    other acting under or through them, directly or indirectly, from infringing

    U.S. Patent Nos. 9,752,319, 10,202,764 and 10,233,638;
    C.      A judgment and order directing Defendants to pay damages to

    Plaintiffs under 35 U.S.C. § 284, including treble damages for willful

    infringement, with interest; and




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     D.      A judgment and order directing Defendants to pay the costs of this
     action (including all disbursements) and attorneys’ fees as provided by 35

     U.S.C. § 285, with interest; and

     E.      Such other and further relief as this Court may deem just and
     equitable.

                             DEMAND FOR JURY TRIAL

      Plaintiffs hereby demand a trial by jury, pursuant to Rule 38 of the Federal
Rules of Procedure, as to all issues triable by jury.

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